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William G. Myers III (ISB #5598)                         Kathy A.F. Davis (UT Bar 4022)
Alison C. Hunter (ISB #8997)                             (pro hac vice application pending)
HOLLAND & HART, LLP                                      Anthony L. Rampton (UT Bar 2681)
800 W. Main Street, Suite 1750                           (pro hac vice application pending)
P.O. Box 2527                                            UTAH ATTORNEY GENERAL’S OFFICE
Boise, ID 83701-2527                                     5110 State Office Building
(208) 342-5000                                           Salt Lake City, UT 84114
wmyers@hollandhart.com                                   (801) 537-9045
achunter@hollandhart.com                                 kathydavis@agutah.gov
                                                         arampton@agutah.gov
Attorneys for Proposed Intervenor-Defendants
Utah Department of Agriculture and Food and              Attorneys for Proposed Intervenor-
State of Utah School and Institutional Trust Lands       Defendants State of Utah, Utah
Administration                                           Department of Agriculture and Food, and
                                                         State of Utah School and Institutional
                                                         Trust Lands Administration



                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF IDAHO

WESTERN WATERSHEDS PROJECT,                          )
                                                     )
       Plaintiff,                                    )
                                                     )    No. 1:19-cv-00037-BLW
v.                                                   )
                                                     )    MEMORANDUM IN SUPPORT
INTERIOR BOARD OF LAND APPEALS &                     )    OF MOTION TO INTERVENE
U.S. DEPARTMENT OF THE INTERIOR,                     )
                                                     )
       Defendants, and                               )
                                                     )
STATE OF UTAH, UTAH DEPARTMENT OF                    )
AGRICULTURE AND FOOD, and STATE OF                   )
UTAH SCHOOL AND INSTITUTIONAL                        )
TRUST LANDS ADMINISTRATION                           )
                                                     )
       [Proposed] Intervenor-Defendants.             )
                                                     )
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       The State of Utah (“Utah”), the Utah Department of Agriculture and Food (“UDAF”),

and the State of Utah School and Institutional Trust Lands Administration (“SITLA”)

respectfully submit this Memorandum in Support of their Motion to Intervene as of right in this

case under Federal Rule of Civil Procedure 24(a) or, in the alternative, permissively under Rule

24(b). Utah, UDAF, and SITLA are sometimes collectively referred to herein as the “State” or

“Proposed Intervenor-Defendants.”

                                           Introduction

       Plaintiff Western Watersheds Project (“WWP”) challenges the Interior Board of Land

Appeals’ (“IBLA”) decision upholding the Bureau of Land Management’s (“BLM”) final

decision to authorize livestock grazing on the Duck Creek Allotment, Bureau of Land

Management v. Western Watersheds Project, et al., 1919 IBLA 144 (September 22, 2017)

(“IBLA Decision”).

       The State should be granted intervention in this suit as a matter of right. First, this

motion is timely, as the case is only in the beginning stages. Second, the State has substantial

interests, including sovereign interests, in the management of public land and resources within its

borders. The lands at issue in this case are situated entirely within Utah. See Decl. of Melissa

Rosenhan Wood in Supp. of Defs. Mot. to Dismiss or Transfer, ECF No. 6-2 (“Wood Decl.”),

¶ 8; see also, Decl. of Taylor Payne in Supp. of Mot. to Intervene (“Payne Decl.”) (attached

hereto as Ex. A), ¶ 11. Management of these lands has direct and indirect economic impacts on

the State and its citizens and directly implicates property rights held in trust and managed by

SITLA for the benefit of Utah schools. See Utah Code Ann. § 53C-1-102(1) (West 2019).

SITLA owns 1,078 acres within the Duck Creek Allotment and administers grazing exchange-of-

use agreements regarding lands utilized and grazed by its lessees. See Payne Decl. ¶¶ 12-18.

UDAF distributes the money received from the sale or lease of SITLA lands to Utah school


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districts. Utah Code Ann. § 4-20-106 (West 2019). The Utah legislature has also tasked UDAF

to “work cooperatively to promote efficient multiple-use management of the rangeland resources

of the public lands administered by [BLM] within the state to benefit the overall public interest.”

Utah Code Ann. § 4-20-109 (West 2019). Third, disposition of this matter in favor of WWP

would impede the State’s ability to protect these interests; such a disposition could deprive the

State of revenue and jeopardize the full use of the property rights it holds for the benefit of all

Utahns. Fourth, intervention is necessary because the Federal Defendants are not capable of

adequately representing the State’s unique interests.

       Federal Defendants filed a Motion to Dismiss for Improper Venue or, in the Alternative,

to Transfer and a supporting Memorandum on April 8, 2019. Defs. Mot. to Dismiss or Transfer,

ECF No. 6 (“Defs. Mot. to Dismiss”); Defs. Mem. in Supp. of Mot. to Dismiss or Transfer, ECF

No. 6-1 (“Defs. Mem.”). The parties have recently submitted briefing on the Defendants’

Motion to Dismiss, but this Court has not yet ruled on it.1

                                            Background

       WWP challenges the IBLA’s decision to uphold the BLM Salt Lake Field Office’s

decision to renew grazing permits on the Duck Creek Allotment located wholly within Utah.

Specifically, the Duck Creek Allotment consists of 1,078 acres of SITLA land, 8,617 acres of

private land, and 13,090 acres of federal land. Wood Decl. ¶ 9. BLM manages the SITLA and

private lands pursuant to special exchange-of-use agreements with private property owners and


1
  In the event this Court allows the State to intervene prior to deciding the Defendants’ Motion to
Dismiss, the State may, for reasons that are apparent in this brief, request the opportunity to
submit a brief in response to Defendants’ Motion to Dismiss with appropriate opportunity for
WWP to reply to the State’s response brief. The grazing allotment at issue is located entirely in
Utah. All of the grazing permittees and private landowners that will be directly impacted by this
decision reside in Utah. Accordingly, the State not only has a significant interest in this case, but
also a significant interest in the outcome of Defendants’ Motion to Dismiss.


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SITLA lessees within the Duck Creek Allotment. Wood Decl. ¶¶ 10, 11. These exchange-of-use

permits may be issued only to “an applicant who owns or controls lands that are unfenced and

intermingled with public lands in the same allotment when use under such an agreement will be

in harmony with the management objectives for the allotment and will be compatible with the

existing livestock operations.” 43 C.F.R. § 4130.6-1(a). All of the grazing permittees are Utah

residents, as are the private landowners whose land is grazed under exchange-of-use agreements

within the Duck Creek Allotment. Wood Decl. ¶¶ 13, 14.

       On September 12, 2008, the Salt Lake Field Office issued a final decision approving 10-

year grazing permits and range improvements on the Duck Creek Allotment (the “BLM Final

Decision”). Notice of Final Decision and Finding of No Significant Impact, Duck Creek

Allotment (attached as Ex. B). Utah actively participated in the scoping and subsequent

decision-making process for this decision. Id. at 4; Wood Decl. ¶ 22.

       The BLM Final Decision approved a rotational grazing system where cattle would use

four different pastures on different schedules in order to better protect rangeland health. IBLA

Decision, ECF No. 1-1, at 9, 30-33. BLM found that the implementation of the rotational

grazing system would allow plants to re-grow and recover from any grazing each year the

particular pasture is grazed. BLM Final Decision at 12. BLM also found that the rotational

grazing system would reduce riparian use for two years out of the four-year rotation cycle. Id.

Implementation of the project would further benefit riparian areas and wildlife through the

construction of a water system that “improve[s] the condition of the riparian areas on the Duck

Creek allotment by providing clean water alternatives to livestock and wildlife.” Id. at 13.

Finally, BLM concluded that its Decision complied with FLPMA and the controlling Randolph

Management Framework Plan. IBLA Duck Creek Decision at 8, 27.




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        WWP challenged the BLM Final Decision before the United States Department of the

Interior’s Office of Hearings and Appeals, Departmental Cases Hearings Division and an

Administrative Law Judge reversed the Decision. IBLA Decision at 7. The IBLA later reversed

the decision of the Administrative Law Judge. Id. at 12.

        WWP filed this suit in the District of Idaho on January 29, 2019. Compl., ECF No. 1.

Due to the State’s significant interest in the BLM Final Decision, the State seeks to intervene in

this suit as Defendants.

                                              Argument

I.     The State Is Entitled To Intervene As A Matter Of Right.

        Four elements must be satisfied for a party to intervene as of right under Federal Rule of

Civil Produced 24(a)(2): (1) the application to intervene must be “timely”; (2) the party must

“have a significantly protectable interest relating to the property or transaction that is the subject

of the action”; (3) the party must be “situated such that the disposition of the action may impair

or impede the party’s ability to protect that interest”; and (4) the party is “not . . . adequately

represented by existing parties.” Arakaki v. Cayetano, 324 F.3d 1078, 1083 (9th Cir. 2003)

(citing Fed. R. Civ. P. 24(a)(2)). The State meets its burden on each of these factors.

        A.      The State’s motion is timely.

        Among the factors to be considered in evaluating timeliness are: “(1) the stage of the

proceeding at which an applicant seeks to intervene; (2) the prejudice to other parties; and (3) the

reason for and length of the delay.” Peruta v. Cty. of San Diego, 824 F.3d 919, 940 (9th Cir.

2016) (quoting United States v. Alisal Water Corp., 370 F.3d 915, 921 (9th Cir. 2004)). Here, no

party can claim that it has been prejudiced by any delay. See United States v. Alisal Water

Corp., 370 F.3d 915, 921 (9th Cir. 2004); Day v. Apoliona, 505 F.3d 963, 965 (9th Cir. 2007)

(deeming motion timely when made two years after case was filed); Smith v. Los Angeles Unified


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Sch. Dist., 830 F.3d 843, 854 (9th Cir. 2016) (deeming motion timely when made twenty years

after case was filed, because the “[m]ere lapse of time alone is not determinative”).

          Here, the State has moved to intervene prior to the Court issuing a decision on

Defendants’ Motion to Dismiss (filed on April 8, 2019), thus the suit is still in its early stages.

Here, no party can claim that it has been “prejudice[d]” by any delay. United States v. Alisal

Water Corp., 370 F.3d 915, 921 (9th Cir. 2004). Indeed, no delay will occur as the State will

abide by the Court’s schedule for this case. The State has moved to intervene “at th[e] particular

stage of the lawsuit” in which its interests were implicated. Id. By any standard this motion is

timely.

          B.     The State has a strong interest in management of land within its borders and
                 SITLA has a strong interest in management of federal land utilized in a
                 common grazing system with adjoining SITLA land.

          A party has a sufficient interest for intervention “if it will suffer a practical impairment of

its interests as a result of the pending litigation.” California ex rel. Lockyer v. United States, 450

F.3d 436, 441 (9th Cir. 2006). Similarly, a party has a protectable interest in the outcome of a

suit that might, “as a practical matter, bear significantly on the resolution of [its] claims” in a

“related action.” United States v. Stringfellow, 783 F.2d 821, 826 (9th Cir. 1986), vacated on

other grounds sub nom, Stringfellow v. Concerned Neighbors in Action, 480 U.S. 370 (1987).

This case implicates Utah’s sovereign interests in the federal management of land within its

borders. See Georgia v. U.S. Army Corps of Eng’rs, 302 F.3d 1242, 1258 (11th Cir. 2002)

(Where “a party seeking to intervene in an action claims an interest in the very property and very

transaction that is the subject of the main action, the potential stare decisis effect may supply the

practical disadvantage [that] warrants intervention as of right.”). Indeed, the BLM Final

Decision’s direct impacts are wholly contained in a single county within Utah’s boundaries. As

the Supreme Court has held, a state has a sovereign interest in “preserv[ing] its sovereign


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territory.” Massachusetts v. EPA, 549 U.S. 497, 518-19 (2007) (affirming that states have an

“independent interest” in protecting the natural environments and resources within the state’s

boundaries).

       Further, economic impacts on government entities implicate a concrete and particularized

state interest. See City of Sausalito v. O’Neill, 386 F.3d 1186, 1198-99 (9th Cir. 2004) (holding

that potential lost taxes derived from tourist revenues are a sufficient economic concern to trigger

a government entity’s legally cognizable and protectable proprietary interest, thereby conferring

Article III standing). To trigger a right to intervene, however, an economic interest must be

concrete and related to the underlying subject matter of the action. See Arakaki at 1085; So. Cal.

Edison Co. v. Lynch, 307 F.3d 794, 803 (9th Cir. 2002).

       In this case, the State has an interest in protecting the environmental quality of real

property and resources within its borders. The SITLA and private lands within the Duck Creek

Allotment are part of the rotational grazing system implemented by the BLM Final Decision, the

success of which depends on the existence of a large area of land where livestock may frequently

rotate between different pastures after short, intense periods of grazing. Payne Decl. ¶¶ 18, 19.

Should WWP succeed in ending the practice of rotational grazing on federal lands within the

Duck Creek Allotment, it is unlikely that the SITLA lands would be able to sustain the rotational

grazing system on their own. Payne Decl. ¶ 20. The acreage of SITLA land within the Duck

Creek Allotment is likely too small to implement a rotational grazing system that requires the

frequent transfer of cattle to different pastures. Id. Without the implementation of the rotational

grazing system, the SITLA lands would lose the existing ecological benefits of the rotational

grazing system, like improved riparian health and conditions for livestock and wildlife. Id. at ¶¶

17, 19, 20; see also BLM Final Decision, at 12-13. Riparian and rangeland conditions on the




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SITLA lands would degrade, with consequent negative impacts to both wildlife and domestic

livestock. The State’s interest in the ecologically healthy and successful management of

livestock grazing on the 1,078 acres of SITLA lands within the Duck Creek Allotment

demonstrates the State’s right to intervene in this case.

       The State also has an interest in protecting its financial and socioeconomic stake in

grazing operations within Utah. The grazing industry plays a vital role in Utah’s economy.

Utah’s plentiful rangelands support more than “6,000 cattle ranching families” making livestock

production the cornerstone of Utah’s agricultural industry. Utah Economic Council: Economic

Report to the Governor, 109 (2019), available at https://gardner.utah.edu/wp-content/uploads/

2019ERGOnline.pdf. The ranching industry requires a “combination of private and public lands

to be sustainable and economically viable.” Id. Here, forty-three percent (43%), or nearly one-

half, of the Duck Creek Allotment exists on state and private inholdings (approximately 9,695

acres), with SITLA holding 1,078 of those acres in trust for the benefit of Utah school children.

Wood Decl. ¶ 9. The revenue from these and other trust lands support Utah’s public education

system. Utah Code Ann. § 53C-1-102(1). Thus, the State has an interest in maintaining the

grazing industry in Utah and protecting the interests of all permittees who rely on rotational

grazing within Utah. See Utah Code Ann. § 4-2-103(1)(a), (b) (West 2019) (UDAF shall:

“inquire into and promote the interests and products of agriculture and allied industries;” and

“promote methods for increasing the production and facilitating the distribution of the

agricultural products of the state.”); see also Utah Code Ann. § 4-20-109 (West 2019).

       Similarly, the State benefits financially from livestock grazing on federal lands within the

Duck Creek Allotment, demonstrating the State’s interests in this case. Statewide, the federal

government manages almost two-thirds of the land within Utah’s borders. Under federal law,




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these public lands provide necessary direct and indirect contributions to state and local revenues.

Of the $331.7 million in revenues generated in 2013 by the federal public lands in Utah, the state

and its counties received $149.8 million, or 45.2 percent.2 These revenues come from grazing

fees as well as other sources such as mineral-lease royalties, payments in lieu of taxes, timber

sales, etc. See, e.g., 43 U.S.C. § 315i (BLM grazing fees partially distributed to states for the

benefit of counties where the fees were generated). Local businesses depend upon those

activities that take place on public lands, and state-owned lands that help fund public schools are

dependent upon the multiple uses of public lands around them. Within the Duck Creek

Allotment, the State derives revenues from the grazing fees generated by the livestock grazing on

the 13,090 acres of federal land within the Duck Creek Allotment. The State has a right to

intervene in this case to protect the state and local revenues generated on federal lands in the

Duck Creek Allotment.

       The State’s economic and property interests in the Duck Creek Allotment are clear and

compelling, necessitating its involvement in this case as an intervenor of right.

       C.      Judgment in favor of WWP would impair the State’s interests.

       The State would suffer a concrete injury-in-fact were this Court to dispose of this case in

the WWP’s favor. The third requirement of Rule 24(a)(2) is satisfied when the suit “may as a

practical matter impair or impede [an applicant’s] ability to safeguard [its] protectable interest.”

Smith v. Los Angeles Unified Sch. Dist., 830 F.3d 843, 862 (9th Cir. 2016). If WWP prevails,

livestock grazing on federal, private, and SITLA lands within the Duck Creek Allotment would




2
 Jan Elise Stambro et al., Univ. of Utah, An Analysis of a Transfer of Federal Lands to the State
of Utah xxvii (2014), http://digitallibrary.utah.gov/awweb/awarchive?type=file&item=73648.


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diminish, as would the state and local revenue generated by livestock grazing on the Duck Creek

Allotment.

       The ability of the State to manage land use of the SITLA parcels within the Duck Creek

Allotment would also be threatened if WWP were to prevail. Payne Decl. ¶¶ 19, 20. Livestock

grazing on those SILTA lands within the Duck Creek Allotment currently occurs under an

“exchange of use” agreement with the BLM and the BLM grazing permittees who utilize BLM

lands also within the Duck Creek Allotment. Wood Decl. ¶ 11. The rotational grazing system in

the Duck Creek Allotment authorized by the BLM Final Decision includes both BLM lands and

SITLA lands. Id. Successful rotational grazing would not be feasible on the SITLA lands alone.

Payne Decl. ¶ 20. The 1,078 acres of SITLA land are not sufficient on their own to host a

successful rotational grazing system without inclusion into a grazing system that incorporates

surrounding federal lands. Id. WWP’s requested remedy thus constitutes a direct threat to

successful rotational grazing on the SITLA lands within the Duck Creek Allotment. The

prospective impairment to the State’s protectable interests in its real property and economic

wellbeing support granting intervention.

       D.      Existing parties cannot adequately represent the State’s interests.

       The burden of showing that other parties cannot adequately represent an intervenor’s

interests is “minimal” and a movant need only show that representation of its interest “may be”

inadequate. Citizens for Balanced Use v. Montana Wilderness Ass’n, 647 F.3d 893, 898 (9th Cir.

2011) (quoting Trbovich v. United Mine Workers, 404 U.S. 528, 538 n. 10 (1972)). The Ninth

Circuit has “stress[ed] that intervention of right does not require an absolute certainty that a

party’s interests will be impaired or that existing parties will not adequately represent its

interests.” Id. at 900. Rule 24 advisory committee notes state that “‘if an absentee would be

substantially affected in a practical sense by the determination made in an action, [it] should, as a


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general rule, be entitled to intervene.’” Arakaki, 324 F.3d at 1086 (quoting Sw. Ctr. for

Biological Diversity v. Berg, 268 F.3d 810, 822 (9th Cir. 2001)).

       Three factors are relevant to determining whether a proposed intervenor’s interests are

adequately represented: “(1) whether the interest of a present party is such that it will

undoubtedly make all of a proposed intervenor’s arguments; (2) whether the present party is

capable and willing to make such arguments; and (3) whether the proposed intervenor would

offer any necessary elements to the proceeding that other parties would neglect.” Arakaki, 324

F.3d at 1086.

       While the State and the Federal Defendants all seek to defend the IBLA’s decision, this

does not ensure that the Federal Defendants will adequately represent the State. For example,

the State is particularly concerned with defense of the IBLA’s decision due to its impact on the

success of livestock grazing on SITLA lands held in trust by the State. The BLM does not own

or manage SITLA lands and does not have a direct interest in successful management of those

lands. The State’s interests are not adequately represented by Defendants because (1)

Defendants will not “undoubtedly” make all the State’s arguments with regards to management

of SITLA lands; (2) Defendants are not fully capable of making all arguments concerning the

State’s interests in its real property impacted by this case; and (3) the State, UDAF, and SITLA

which owns and manages its lands for the benefits of schools, will offer necessary elements to

the proceedings relating to Utah real property and resources. These facts satisfy the State’s de

minimis burden to show Federal Defendants’ representation may be inadequate.

II.    Alternatively, The State Should Be Allowed To Intervene Permissively.

       If the Court does not grant the State intervention as a matter of right, the Court should

allow the State to intervene in this matter pursuant to Fed. R. Civ. P. 24(b)(1)(B), which

provides:


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               On timely motion, the court may permit anyone to intervene who
               . . . has a claim or defense that shares with the main action a
               common question of law or fact.

Permissive intervention may be granted where “(1) there is an independent ground for

jurisdiction; (2) the motion is timely; and (3) the movant’s claim or defense and the main action

must have a common question of the law or fact in common.” Amanatullah v. U.S. Life Ins. Co.,

Case No. 4:15-cv-00056-EJL, 2017 WL 2906045 at *1 (D. Idaho June 29, 2017) (citation

omitted). Additionally, the court will consider whether intervention will unduly delay or

prejudice the original parties and whether the movant’s interests are adequately represented by

existing parties. Id.

       The State easily satisfies each of these requirements. An independent ground for

jurisdiction exists through the federal question doctrine, 28 U.S.C. § 1331, augmented through

supplemental jurisdiction under 28 U.S.C. § 1367. As explained in the argument for intervention

of right, the motion is timely and will not delay proceedings or otherwise prejudice existing

parties. The State’s defense of livestock grazing on certain BLM lands within its borders shares

common questions of law and fact with the main action – WWP’s assertion that the IBLA ruling

was not proper.

       Alternatively, the Court may permit Utah to intervene under Fed. R. Civ. P. 24(b)(2)

where the State administers Utah statutes and regulations that are interdependent with the federal

statutes at issue in WWP’s complaint. In Nuesse v. Camp, 385 F.2d 694 (D.C. Cir. 1967), a

Wisconsin state bank sued the United States Comptroller of Currency seeking declaratory and

injunctive relief to prevent the Comptroller from approving an application of a national bank to

open a branch in the vicinity of the state bank’s office. The Wisconsin Banking Commissioner

sought intervention which was denied by the district court. The D.C. Circuit Court of Appeals

reversed, finding that intervention was appropriate, in part, based upon Fed. R. Civ. P. 24(b)(2).


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       The district court had concluded that Rule 24(b)(2) was inapplicable because the

litigation was not an interpretation of a state law being administered by the federal defendant.

The circuit court overturned the district court’s “excessively narrow” ruling. Id. at 705. The

circuit court determined that the district court’s denial of intervention ignored the “‘intimacy of

the relationship between and interdependency of the Federal and State statutes.’” Id. (citation

omitted). The court noted that the federal statute at issue reflected a pervasive policy of

coordination with the state and that the federal statute’s interpretation was dependent on the

state’s policy and legislation. Id. The circuit court concluded that “permissive intervention is

available when sought because an aspect of the public interest with which [the state official] is

officially concerned is involved in the litigation.” Id. at 706; see also Blake v. Pallan, 554 F.2d

947, 953 (9th Cir. 1977) (“A state official has a sufficient interest in adjudications which will

directly affect his own duties and powers under the state laws.”).

       Similarly here, WWP’s reliance on FLPMA to support its complaint is significantly

interdependent with the State’s management of grazing and agriculture in Utah. The Utah

legislature has tasked UDAF to “work cooperatively to promote efficient multiple-use

management of the rangeland resources of the public lands administered by [BLM] within the

state to benefit the overall public interest.” Utah Code Ann. § 4-20-109. Similarly, FLPMA

“reflects a pervasive policy of coordination” with the State’s interests. Nuesse, 385 F.2d at 705.

Accordingly, Fed. R. Civ. P. 24(b)(2) provides an alternate ground upon which the Court may

permit the State to intervene in this action.

                                                Conclusion

       For the foregoing reasons, the State respectfully requests that this Court grant this motion

for intervention.




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        Respectfully submitted this 13th day of June, 2019.


                                             HOLLAND & HART, LLP


                                             /s/ William G. Myers III
                                             William G. Myers III
                                             Alison C. Hunter

                                             Attorneys for Proposed Intervenor-Defendants Utah
                                             Department of Agriculture and Food and State of
                                             Utah School and Institutional Trust Lands
                                             Administration

                                             UTAH ATTORNEY GENERAL’S OFFICE
                                             Kathy A.F. Davis
                                             Anthony L. Rampton
                                             Assistant Attorneys General

                                             Attorneys for Proposed Intervenor-Defendants State
                                             of Utah, Utah Department of Agriculture and Food,
                                             and State of Utah School and Institutional Trust
                                             Lands Administration




                                      Certificate of Service

        I HEREBY CERTIFY that on the 13th day of June, 2019, I filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

 Laurence J. Lucas                                Rebecca Jaffe
 llucas@advocateswest.org                         Rebecca.jaffe@usdoj.gov
 Megan Marie Backsen                              Counsel for Interior Board of Land Appeals
 meganbacksen@gmail.com                           and Department of the Interior
 Todd C. Tucci
 ttucci@advocateswest.org
 Counsel for Western Watersheds Project


                                             /s/ William G. Myers III
                                             for HOLLAND & HART LLP
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